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		OSCN Found Document:IN RE: AMENDMENT TO OKLAHOMA SUPREME COURT RULE 1.60

					

				
  



				
					
					
						
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				IN RE: AMENDMENT TO OKLAHOMA SUPREME COURT RULE 1.602019 OK 64Decided: 10/08/2019THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2019 OK 64, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 



IN RE: AMENDMENT TO THE OKLAHOMA SUPREME COURT RULE 1.60, 12 O.S. ch. 15, app.1.




ORDER


On October 7, 2019, the Oklahoma Supreme Court in Conference approved the attached amendment to Oklahoma Supreme Court Rule 1.60, Okla. Stat. tit. 12, ch. 15, app. 1. The amendment shall be immediately effective upon the filing of this order, and shall apply to all pending cases before this Court and the Court of Civil Appeals.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THE 7th DAY OF OCTOBER, 2019.


/S/CHIEF JUSTICE



Gurich, C.J., Darby, V.C.J., Kauger, Combs and Kane, JJ., concur;

Winchester, Edmondson and Colbert, JJ., dissent.




Exhibit "A"

RULE 1.60 - DEFINITION OF INTERLOCUTORY ORDERS APPEALABLE BY RIGHT

Orders of the district court that are interlocutory and may be appealed by right in compliance with the rules in this part are those that:

(a) Grant a new trial or vacate a judgment on any ground, including that of newly discovered evidence or the impossibility of making a record (12 O.S. § 655, 12 O.S. § 952(b)(2));

(b) Discharge, vacate or modify or refuse to discharge, vacate or modify an attachment (12 O.S. § 993(A)(1));

(c) Deny a temporary injunction, grant a temporary injunction except where granted at an ex parte hearing, or discharge, vacate or modify or refuse to discharge, vacate or modify a temporary injunction (12 O.S. § 952(b)(2) and 12 O.S. § 993(A)(2));

(d) Discharge, vacate or modify or refuse to discharge, vacate or modify a provisional remedy which affects the substantial rights of a party (12 O.S. § 952(b)(2) and 12 O.S. § 993(A)(3));

(e) Appoint a receiver except where the receiver was appointed at an ex parte hearing, refuse to appoint a receiver or vacate or refuse to vacate the appointment of a receiver (12 O.S. § 993(A)(4));

(f) Direct the payment of money pendente lite except where granted at an ex parte hearing, refuse to direct the payment of money pendente lite, or vacate or refuse to vacate an order directing the payment of money pendente lite (12 O.S. § 993(A)(5));

(g) Certify or refuse to certify an action to be maintained as a class action (12 O.S. § 993(A)(6));

(h) Are enumerated in 58 O.S. § 721 (interlocutory probate orders but not orders allowing a final account and granting a decree of distribution); or

(i) Are made under the provisions of 12 O.S. § 1879.; or


(j) Temporary orders of protection made in proceedings pursuant to the Protection From Domestic Abuse Act, 22 O.S. §§ 60 et seq.






	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
		Level
		
	
	
	Title 12. Civil Procedure
&nbsp;CiteNameLevel

&nbsp;12 O.S. RULE 1.60, DEFINITION OF INTERLOCUTORY ORDERS APPEALABLE BY RIGHTCited


	
	
	Citationizer: Table of Authority
	
	
		
		Cite
		Name
		Level
		
	
	
	Title 12. Civil Procedure
&nbsp;CiteNameLevel

&nbsp;12 O.S. 1879, AppealsCited
&nbsp;12 O.S. 655, Petition for New TrialCited
&nbsp;12 O.S. 952, Jurisdiction of Supreme CourtDiscussed at Length
&nbsp;12 O.S. 993, Appeals from Certain Interlocutory Orders - UndertakingDiscussed at Length
Title 22. Criminal Procedure
&nbsp;CiteNameLevel

&nbsp;22 O.S. 60, Short TitleCited
Title 58. Probate Procedure
&nbsp;CiteNameLevel

&nbsp;58 O.S. 721, Appealable Judgments and Orders of District CourtCited


	
	








				
					
					
				

		
		

	
		
			
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